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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )                    4:12CR3008
                                          )
           v.                             )
                                          )        MEMORANDUM AND ORDER
LITA CHANHDARA,                           )
                                          )
                  Defendant.              )

    At the Defendant’s oral request and with the parties’ consent,

    IT IS ORDERED:

    1)     The defendant’s oral motion (filing no. 51), to continue the hearing on
           defendant’s motion to suppress and her motion disclosure of identity of
           informant, (filing nos. 28 and 29), is granted.

    2)     The defendant's evidentiary hearing will be conducted before the undersigned
           magistrate judge on June 14, 2012 at 10:30 a.m. The defendant is ordered to
           appear at this hearing.

     2)    The ends of justice served by granting defendant’s request to continue the
           suppression hearing outweigh the interests of the public and the defendant in
           a speedy trial, and the additional time arising as a result of the granting of the
           motion, the time between today’s date and June 14, 2012, shall be deemed
           excluded in any computation of time under the requirements of the Speedy
           Trial Act, for the reason that defendant’s counsel requires additional time to
           adequately prepare the case, taking into consideration due diligence of counsel,
           the novelty and complexity of the case, and the fact that the failure to grant
           additional time might result in a miscarriage of justice. 18 U.S.C. §
           3161(h)(7).

    4)     The government's briefing deadline is extended to June 11, 2012.

    DATED this 18 th day of May, 2012           BY THE COURT:

                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
